               Case 2:22-cv-01096-RSL Document 18 Filed 10/03/22 Page 1 of 11



 1                                                                      The Honorable Robert S. Lasnik
 2

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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9    PRINCIPAL FINANCIAL SERVICES,                     Case No. 2:22-cv-01096-RSL
      INC., an Iowa corporation,
10                                                      DEFENDANT’S ANSWER TO COMPLAINT
                          Plaintiff,                    FOR TRADEMARK INFRINGEMENT,
11                                                      UNFAIR COMPETITION, AND
               v.                                       TRADEMARK DILUTION
12
      PRINCIPAL WARRANTY, LLC, d/b/a
13
      PRINCIPAL WARRANTY CORP.,
14
                          Defendant.
15

16            Defendant Principal Warranty, LLC, d/b/a Principal Warranty Corp. (“PWC”) hereby

17   answers Plaintiff Principal Financial Services, Inc.’s (“Plaintiff” or “PFS”) Complaint dated

18   August 4, 2022 (“Complaint”), as follows, denying all allegations not specifically admitted

19   below:
                                       I. NATURE OF THE ACTION
20

21            The first paragraph contains Plaintiffs’ characterization of the Complaint, to which no

22   response is required. To the extent a response is required, PWC denies.

23   ///

24   ///

25   ///

26   ///



                                                                                   Miller Nash LLP
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     DEFENDANT’S ANSWER TO COMPLAINT - 1
                                                                               Seattle, WA 98121-1128
     (Case No. 2:22-cv-01096-RSL)                                         206.624.8300 | Fax: 206.340.9599
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 1                                             II. THE PARTIES
 2           1.         Paragraph 1 contains no allegations against PWC, and thus no response is
 3   required. To the extent a response is required, PWC admits plaintiff is an Iowa corporation and
 4   otherwise lacks sufficient knowledge or information to form a belief as to the truth of the
 5   allegations in Paragraph 1, and therefore denies the same.
 6           2.         Paragraph 2 contains no allegations against PWC, and thus no response is
 7   required. To the extent a response is required, PWC lacks sufficient knowledge or information to
 8   form a belief as to the truth of the allegations in Paragraph 2, and therefore denies the same.
 9           3.         Paragraph 3 contains no allegations against PWC, and thus no response is
10   required. To the extent a response is required, PWC admits plaintiff is a Fortune 500 company,
11   owns various trademark registrations as reflected in the records of the United States Patent and
12   Trademark Office (“PTO”) and otherwise lacks sufficient knowledge or information to form a
13   belief as to the truth of the allegations in Paragraph 3, and therefore denies the same.
14           4.         Admitted.
15           5.         Admitted.
16           6.         Admitted.
17           7.         Admitted.
18           8.         PWC admits to filing four trademark applications with the United States Patent
19   and Trademark Office for the marks PRINCIPAL WARRANTY CORP. (word) and PWC
20   PRINCIPAL WARRANTY CORP. (design) with applications numbers 88/349,308, 88/349,311,
21   88/349,312, and 88/349,314. Principal denies that Defendant abandoned the applications on
22   January 13, 2020.
23           9.         PWC admits that PFS contacted PWC's attorneys regarding the use of PWC’s
24   marks, that PWC abandoned its applications, that the parties have engaged in extensive
25   settlement discussions, and that PWC continues to use those marks as it has done for over a
26



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 1   dozen years. Principal admits its website has changed over time, but denies all other allegations
 2   in this paragraph.
 3           10.        PWC admits that Exhibit 2 speaks for itself and that PWC lists products with
 4   those names on its website.
 5                                     III. JURISDICTION AND VENUE
 6           11.        Admitted.
 7           12.        PWC admits that Plaintiff and Defendant appear to be citizens of different states,
 8   but lacks knowledge or information sufficient to form a belief as to the truth of the remaining
 9   allegations of that paragraph.
10           13.        Admitted.
11           14.        Admitted.
12                        IV. FACTS COMMON TO ALL CLAIMS FOR RELIEF
13                             The Famous PRINCIPAL Family of Trademarks
14           15.        Paragraph 15 contains no allegations against PWC, and thus no response is
15   required. To the extent a response is required, PWC is without knowledge or information
16   sufficient to form a belief as to the truth of the allegations in this paragraph, and therefore denies
17   them.
18           16.        Paragraph 16 contains no allegations against PWC, and thus no response is
19   required. To the extent a response is required, PWC is without knowledge or information
20   sufficient to form a belief as to the truth of the allegations in this paragraph, and therefore denies
21   them.
22           17.        Paragraph 17 contains no allegations against PWC, and thus no response is
23   required. To the extent a response is required, PWC is without knowledge or information
24   sufficient to form a belief as to the truth of the allegations in this paragraph, and therefore denies
25   them.
26



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 1           18.        Paragraph 18 contains no allegations against PWC, and thus no response is
 2   required. To the extent a response is required, PWC is without knowledge or information
 3   sufficient to form a belief as to the truth of the allegations in this paragraph, and therefore denies
 4   them.
 5           19.        Paragraph 15 contains no allegations against PWC, and thus no response is
 6   required. To the extent a response is required, PWC is without knowledge or information
 7   sufficient to form a belief as to the truth of the allegations in this paragraph, and therefore denies
 8   them.
 9                                        Defendant’s Infringing Acts
10           20.        PWC admits to offering services in interstate commerce, and denies the remainder
11   of this paragraph.
12           21.        PWC admits to using its trade names and service marks in connection with its
13   services in interstate commerce; admits to use in Iowa only to the extent of its evidence
14   submitted in support of its Motion to Dismiss in Case No. 4:22-cv-00050 in the United States
15   District Court for the Southern District of Iowa (the “Iowa Action”); and denies all other
16   allegations.
17           22.        PWC denies the allegations in this paragraph.
18           23.        PWC admits to the use shown, but denies the characterization that it closely
19   resembles that of Plaintiff.
20           24.        PWC admits to the use shown, but denies any characterization that it closely
21   resembles that of Plaintiff.
22           25.        PWC denies the allegations in this paragraph.
23           26.        PWC denies the allegations in this paragraph.
24           27.        Admitted.
25           28.        Admitted.
26



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 1           29.        PWC admits to continued use of its name and marks for over a dozen years,
 2   admits that PFS contacted it in approximately June of 2019 regarding PFS’ marks, but denies all
 3   other allegations in this paragraph.
 4           30.        PWC admits to continued use of its marks and trade names in interstate
 5   commerce, and that PFS has objected to such use, but denies all other allegations in this
 6   paragraph.
 7           31.        PWC admits that it continues to operate as it has for over a dozen years, and
 8   denies the allegations in this paragraph.
 9           32.        PWC denies the allegations in this paragraph.
10           33.        PWC denies the allegations in this paragraph.
11           34.        PWC denies the allegations in this paragraph.
12           35.        PWC denies the allegations in this paragraph.
13                                                 V. COUNT 1
14              Violations of Section 32(1) of the Lanham Act – Trademark Infringement
15           36.        Paragraph 36 contains no allegations against PWC, thus no response is required,
16   and to the extent necessary, PWC incorporates by reference its admissions and denials above.
17           37.        PWC denies the allegations in this paragraph.
18           38.        PWC denies the allegations in this paragraph.
19           39.        PWC denies the allegations in this paragraph.
20           40.        PWC denies the allegations in this paragraph.
21           41.        PWC is without knowledge or information sufficient to form a belief as to the
22   truth of the allegations in this paragraph, and therefore denies them.
23           42.        PWC denies the allegations in this paragraph them.
24   ///
25   ///
26   ///



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 1                                               VI. COUNT II
 2                  Violation of Section 43(a) of the Lanham Act – Unfair Competition

 3           43.        Paragraph 43 contains no allegations against PWC, thus no response is required

 4   and to the extent necessary, PWC incorporates by reference its admissions and denials above.

 5           44.        PWC denies the allegations in this paragraph.

 6           45.        PWC denies the allegations in this paragraph.

 7           46.        PWC denies the allegations in this paragraph.

 8           47.        PWC denies the allegations in this paragraph.

 9           48.        PWC is without knowledge or information sufficient to form a belief as to the

10   truth of the allegations in this paragraph, and therefore denies them.

11           49.        PWC denies the allegations in this paragraph.

12                                              VII. COUNT III

13                  Violation of Section 43(c) of the Lanham Act – Trademark Dilution

14           50.        Paragraph 50 contains no allegations against PWC, thus no response is required

15   and to the extent necessary, PWC incorporates by reference its admissions and denials above.

16           51.        PWC is without knowledge or information sufficient to form a belief as to the

17   truth of the allegations in this paragraph, and therefore denies them.

18           52.        PWC denies the allegations in this paragraph.

19           53.        PWC denies the allegations in this paragraph.

20                                              VIII. COUNT IV

21                 Unfair Business Practices under Washington Statute RCW §19.86.010

22           54.        Paragraph 54 contains no allegations against PWC, thus no response is required

23   and to the extent necessary, PWC incorporates by reference its admissions and denials above.

24           55.        Admitted.

25           56.        PWC denies the allegations in this paragraph.

26           57.        PWC denies the allegations in this paragraph.



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 1           58.        PWC is without knowledge or information sufficient to form a belief as to the
 2   truth of the allegations in this paragraph, and therefore denies them.
 3           59.        PWC denies the allegations of this paragraph.
 4                                                 IX. COUNT V
 5    Trademark Infringement and Unfair Competition under Washington State Common Law
 6           60.        Paragraph 60 contains no allegations against PWC, thus no response is required
 7   and to the extent necessary, PWC incorporates by reference its admissions and denials above.
 8           61.        PWC is without knowledge or information sufficient to form a belief as to the
 9   truth of the allegations in this paragraph, and therefore denies them.
10           62.        PWC is without knowledge or information sufficient to form a belief as to the
11   truth of the allegations in this paragraph, and therefore denies them.
12           63.        PWC denies the allegations in this paragraph.
13           64.        PWC is without knowledge or information sufficient to form a belief as to the
14   truth of the allegations in this paragraph, and therefore denies them
15           65.        PWC denies the allegations of this paragraph.
16                                          X. PRAYER FOR RELIEF
17           A.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
18   prayer for relief or otherwise.
19           B.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
20   prayer for relief or otherwise.
21           C.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
22   prayer for relief or otherwise.
23           D.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
24   prayer for relief or otherwise.
25           E.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
26   prayer for relief or otherwise.



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 1           F.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
 2   prayer for relief or otherwise.
 3           G.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
 4   prayer for relief or otherwise.
 5           H.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
 6   prayer for relief or otherwise.
 7           I.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
 8   prayer for relief or otherwise.
 9           J.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
10   prayer for relief or otherwise.
11           K.         PWC denies that Plaintiff is entitled to any relief in this action as requested in the
12   prayer for relief or otherwise.
13                                      XI. AFFIRMATIVE DEFENSES
14           By way of further answer, PWC asserts the following affirmative defenses:
15           1.         Some or all of Plaintiffs’ claims fail to state a claim upon which relief can be
16   granted.
17           2.         PWC started openly using the PRINCIPAL WARRANTY and PRINCIPAL
18   WARRANTY CORP. names and marks in 2009, established a website at
19   www.principalwarrantycorp.com by no later than 2011, and has used those names, and other
20   PRINCIPAL-formative names, for its products and services continuously since for its distinct
21   products and services. Hence, PWC and PFS have been co-existing for over a dozen years in the
22   United States. During that time, PWC is unaware of any consumer confusion that has arisen
23   between PWC’s PRINCIPAL WARRANTY and PRINCIPAL WARRANTY CORP. marks and
24   offerings (or any other of PWC’s uses of Principal-formative names) and PFS’s PRINCIPAL
25   marks and offerings as described in the complaint. This longstanding co-existence itself
26   demonstrates that confusion is unlikely.



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 1           3.         The parties provide distinct products and services. PWC’s PRINCIPAL
 2   WARRANTY CORP. and PWC PRINCIPAL WARRANTY CORP. marks (and any other of
 3   PWC’s uses of Principal-formative names) are used exclusively with PWC’s Vehicle Service
 4   Contracts and related automotive products and services, and marketed exclusively to automobile
 5   and RV dealers, which products and services PFS does not provide, and which market PFS does
 6   not service. None of PFS’s active PRINCIPAL filings before the United States Patent and
 7   Trademark Office (“Trademark Office”) include identifications for auto, automobile, automotive,
 8   vehicle, car, motorcycle, or similar transportation focused terms. Therefore, the parties provide
 9   distinct services within Class 36.
10           4.         Plaintiffs marks are not sufficiently famous or distinctive and the field is crowded.
11   A June 27, 2019 search of the Trademark Office database revealed 416 filings containing the
12   term “PRINCIPAL,” including 124 active filings, 107 active registrations, and 15 Class 36 active
13   filings owned by parties other than PFS (“Third Party Filings”). These Third Party Filings
14   include numerous registrations for financial, insurance, investment, and annuity services.
15           5.         The term “principal” is descriptive in connection with financial and investment
16   services (see, e.g., https://www.investopedia.com/terms/p/principal.asp). Therefore, PFS’s rights
17   in the descriptive PRINCIPAL term are extremely narrow.
18           6.         PWC’s PRINCIPAL WARRANTY CORP. and PWC PRINCIPAL
19   WARRANTY CORP. & Design marks are visually and aurally distinct from PFS’s PRINCIPAL
20   marks. Consumers are unlikely to assume these visually distinctive marks emanate from the
21   same source, and PWC is unaware of any confusion.
22           7.         There is a First Amendment right to use the common English term of "principal,"
23   which means both “first in order of importance” and “a sum of money,” and PWC’s use of
24   “principal” in any marks or names plays off both of those definitions.
25           8.         To the extent that PFS began using any mark at issue in 2009 or thereafter, PWC
26   may have priority of use with respect to only those marks.



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 1             9.       Some or all of Plaintiff’s claims may be barred by equitable principles, including
 2   laches.
 3                                            XII. RESERVATION
 4             PWC specifically reserves the right to amend its Answer and Affirmative Defenses as
 5   dictated by additional investigation, discovery, and the interests of justice.
 6                                       XIII. PRAYER FOR RELIEF
 7             Having answered Plaintiff’s Complaint, Defendant PWC prays for relief as follows:
 8             A.       That Plaintiff’s claims against Defendant PWC be dismissed with prejudice, and
 9   judgment be entered for Defendant PWC, including a judgment that PWC does not infringe,
10   dilute or tarnish any of Plaintiff’s marks;
11             B.       That Defendant PWC be awarded its reasonable attorneys’ fees, expenses and
12   costs pursuant to 15 U.S.C. § 1117 or any other applicable law;
13             C.       That Defendant PWC be awarded its statutory costs and attorneys’ fees; and
14             D.       That Defendant PWC be awarded such other relief, in law and equity, as the court
15   may deem just and reasonable.
16             DATED this 3rd day of October, 2022.
17                                                    s/ Brian W. Esler
18                                                    Brian W. Esler, WSBA No. 22168
                                                      Miller Nash LLP
19                                                    Pier 70, 2801 Alaskan Way, Suite 300
                                                      Seattle, WA 98121
20                                                    Telephone: (206) 624-8300
                                                      Email: brian.esler@millernash.com
21
                                                             Attorneys for Defendant
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 1                                     CERTIFICATE OF SERVICE
 2           I hereby certify that on October 3, 2022, I electronically filed the foregoing with the
 3   Clerk of the Court using the CM/ECF system which will send notification of such filing to all
 4   counsel of record.
 5           DATED this 3rd day of October, 2022, at Seattle, Washington.
 6
                                                   s/ Brian W. Esler
 7                                                 Brian W. Esler
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